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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

AUGUST DEKKER, et al.,

      Plaintiffs,

v.                                                   Case No. 4:22-cv-00325-RH-MAF

SIMONE MARSTILLER, et al.,

     Defendants.
____________________________/

                                       ANSWER

      Pursuant to Rule 8(b) of the Federal Rules of Civil Procedure, Defendants,

SIMONE MARSTILLER, in her official capacity as Secretary of the Florida Agency of

Health Care Administration, and the FLORIDA AGENCY FOR HEALTH CARE

ADMINISTRATION hereby answer the allegations of the Complaint filed by

Plaintiffs, August Dekker, legally known as Kori Dekker, BRIT ROTHSTEIN, SUSAN

DOE, a minor, by and through her parents and next friends, JANE DOE and JOHN

DOE, and K.F., a minor by and through his parent and next friend, JADE LADUE.

The numbered Paragraphs of this Answer correspond to the numbered Paragraphs of

the Complaint. Defendants deny any and all allegations of the Complaint, whether

express or implied, that are not specifically admitted, qualified, or denied by this

Answer. The headings included in the Complaint are quoted for consistency and ease

of reference only and any allegations in the headings are specifically denied.
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                                 INTRODUCTION

      1.     The first sentence of Paragraph 1 states Plaintiffs’ legal position and

therefore requires no response. Defendants deny the second and third sentence of this

Paragraph.

      2.     Denied.

      3.     Admitted that the Agency for Health Care Administration adopted Rule

59G-1.050(7). The remaining allegations and conclusions, as well as the

characterizations of Rule 59G-1.050(7), contained in Paragraph 3 are denied.

      4.     Denied.

      5.     Defendants admit the allegation in the first sentence of Paragraph 5, but

deny the allegations in the second sentence.

      6.     Denied.

      7.     Denied.

      8.     Denied.

      9.     Denied.

      10.    Denied.

      11.    Denied.

      12.    Paragraph 12 contains Plaintiffs’ description of the relief requested in this

lawsuit; therefore no response is required.




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          A.    Plaintiffs

Plaintiff August Dekker

          13.   Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in Paragraph 13 and on that basis deny them.

Plaintiff Brit Rothstein

          14.   Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in Paragraph 14 and on that basis deny them.

Plaintiff Susan Doe

          15.   Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in Paragraph 15 and on that basis deny them.

Plaintiff K.F.

          16.   Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in Paragraph 16 and on that basis deny them.

          B.    Defendants

          17.   Admitted.

          18.   Admitted.

                             JURISDICTION AND VENUE

          19.   Admitted.

          20.   Defendants deny that Plaintiffs are entitled to declaratory or injunctive

relief.

          21.   Admitted.
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      22.    Admitted.

                           FACTUAL BACKGROUND

      23.    Denied.

      24.    Denied.

      25.    Admitted that some individuals experience incongruence between their

sex and their perception of themselves; otherwise denied.

      26.    Denied.

      27.    Admitted.

      28.    Denied.

      29.    Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in Paragraph 29 and on that basis deny them.

      30.    Denied.

      31.    Denied.

      32.    Denied.

      33.    Denied.

      34.    Admitted to the extent that gender dysphoria is a mental condition;

otherwise denied.

      35.    Defendants deny that the listed medical and mental health groups are

“leading”; otherwise admitted.

      36.    Denied.

      37.    Denied.
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      38.    Denied.

      39.    Denied.

      40.    Admitted as to the position of WPATH and Endocrine Society. Denied

that the treatments referenced in Paragraph 40 are medically necessary.

      41.    Denied.

      42.    Denied.

      43.    Admitted that some transgender individuals pursue legal transition. The

characterization of “many” is vague and therefore denied.

      44.    Denied.

      45.    Denied that hormone therapy and surgery are medically necessary

treatments for gender dysphoria.

      46.    Denied.

      47.    The WPATH Standards of Care speak for themselves. Defendants deny

the allegation in the first sentence of this Paragraph that medical interventions are

medically necessary and appropriate after transgender youth reach puberty. Defendants

deny the allegations in the second sentence as a categorial description of how gender

dysphoria is treated in every case.

      48.    Defendants deny that puberty delaying medications minimizes and

potentially prevents any heightened gender dysphoria associated with puberty.

      49.    Defendants deny the allegations of this Paragraph to the extent they are

contrary to the Agency for Healthcare Administration’s (“AHCA’s”) Generally
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Accepted Professional Medical Standards Determination for Gender Dysphoria

(“GAPMS Determination”).

      50.    Denied.

      51.    Admitted that surgery might be sought by transgender people after

puberty; otherwise denied.

      52.    Denied.

      53.    Denied.

      54.    Denied.

      55.    Denied.

      56.    Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in Paragraph 56 and on that basis deny them.

      57.    Denied.

      B.     The Medicaid Act and Florida’s Medicaid Program

             i.     Medicaid Coverage

      58.    The statutory provisions cited in Paragraph 58 speak for themselves, and

all allegations inconsistent with their terms are denied. Otherwise denied.

      59.    The statutory provision cited in Paragraph 59 speaks for itself, and all

allegations inconsistent with its terms are denied. Otherwise denied.

      60.    The statutory provisions cited in Paragraph 60 speak for themselves, and

all allegations inconsistent with their terms are denied. Otherwise denied.



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      61.    The statutory provision and regulations cited in Paragraph 61 speak for

themselves, and all allegations inconsistent with their terms are denied. Otherwise

denied.

      62.    The statutory provision cited in Paragraph 62 speaks for itself, and all

allegations inconsistent with its terms are denied. Otherwise denied.

      63.    The statutory provision cited in Paragraph 63 speaks for itself, and all

allegations inconsistent with its terms are denied. Otherwise denied.

      64.    The statutory provisions cited in Paragraph 64 speak for themselves, and

all allegations inconsistent with their terms are denied. Otherwise denied.

      65.    The statutory provision cited in Paragraph 65 speak for itself, and all

allegations inconsistent with its terms are denied. Otherwise denied.

             ii.    The Medicaid EPSDT Requirements

      66.    The statutory provisions cited in Paragraph 66 speak for themselves, and

all allegations inconsistent with their terms are denied. Otherwise denied.

      67.    . The statutory provisions cited in Paragraph 67 speak for themselves, and

all allegations inconsistent with their terms are denied. Otherwise denied.

      68.    The federal regulatory guidance cited in Paragraph 68 speak for itself, and

all allegations inconsistent with its terms are denied. Otherwise denied.

      69.    The statutory provisions cited in Paragraph 69 speak for themselves, and

all allegations inconsistent with their terms are denied. Otherwise denied.



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      70.    The statutory provisions cited in Paragraph 70 speak for themselves, and

all allegations inconsistent with their terms are denied. Otherwise denied.

      71.    The statutory provisions cited in Paragraph 71 speak for themselves, and

all allegations inconsistent with their terms are denied. Otherwise denied.

      72.    The statutory provisions cited in Paragraph 72 speak for themselves, and

all allegations inconsistent with their terms are denied. Otherwise denied.

      73.    The statutory provision cited in Paragraph 73 speaks for itself, and all

allegations inconsistent with its terms are denied. Otherwise denied.

      74.    The regulation cited in Paragraph 74 speaks for itself, and all allegations

inconsistent with its terms are denied. Otherwise denied.

             iii.   The Medicaid Comparability Requirements

      75.    The statutory provision cited in Paragraph 75 speaks for itself, and all

allegations inconsistent with its terms are denied. Otherwise denied.

      76.    The regulation cited in Paragraph 76 speaks for itself, and all allegations

inconsistent with its terms are denied. Otherwise denied.

      77.    The regulation cited in Paragraph 77 speaks for itself, and all allegations

inconsistent with its terms are denied. Otherwise denied.

             iv.    Florida’s Medicaid Program

      78.    The statutory provision and regulations cited in Paragraph 78 speak for

themselves, and all allegations inconsistent with their terms are denied. Otherwise

denied.
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      79.    The statutory provision cited in Paragraph 79 speaks for itself, and all

allegations inconsistent with its terms are denied. Otherwise denied.

      80.    The federal register provisions cited in Paragraph 80 speak for themselves,

and all allegations inconsistent with their terms are denied. Otherwise denied.

      81.    The regulations cited in Paragraph 81 speak for themselves, and all

allegations inconsistent with their terms are denied. Otherwise denied.

      82.    The regulations cited in Paragraph 82 speak for themselves, and all

allegations inconsistent with their terms are denied. Otherwise denied.

      83.    The regulation cited in Paragraph 83 speaks for itself, and all allegations

inconsistent with its terms are denied. Otherwise denied.

      84.    Admitted that Rule 59G-1.050, F.A.C. as amended became effective

August 21, 2022. Otherwise, denied.

      85.    Admitted that Rule 59G-1.050, F.A.C. as amended became effective

August 21, 2022. Otherwise, denied.

      C.     Defendants adopt the Challenged Exclusion and Target
             Transgender Medicaid Beneficiaries for Discrimination.
             (DENIED)

      86.    Denied that the Florida Department of Health (“FDOH”) guidelines are

“misleading and factually inaccurate”; otherwise admitted.

      87.    Admitted that the FDOH guidelines are non-binding; otherwise denied.

      88.    Admitted.



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      89.    Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in Paragraph 89 and on that basis deny them.

      90.    The referenced letter to the editor speaks for itself. Defendants deny the

substance of the quoted statements.

      91.    The referenced letter to the editor speaks for itself. Defendants deny that

“[t]hese national and international guidelines are the result of careful deliberation and

examination of the evidence by experts, including pediatricians, endocrinologists,

psychologists and psychiatrists.”

      92.    Admitted.

      93.    Denied.

      94.    Denied.

      95.    Admitted that AHCA published the GAPMS Determination on June 2,

2022. Denied that AHCA published a “political” webpage with “misleading ‘fact-

checking’ of HHS’s guidance” or any “false assertions.”

      96.    Denied that the GAPMS Determination included “wrong[]” conclusions;

otherwise admitted.

      97.    Denied that scare quotes should be used for the term “‘assessments.’”

Otherwise, admitted.

      98.    Denied.

      99.    Admitted that the GAPMS Determination included an expert report by

Dr. Quentin Van Meter; otherwise argumentative and denied.
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      100. Admitted that the GAPMS Determination included an expert report by

Dr. James Cantor. The referenced judicial decision speaks for itself.

      101. Admitted that the GAPMS Determination included an assessment by Dr.

Romina Brignardello-Peterson. Admitted that Dr. Brigardello has no experience

treating gender dysphoria. Defendants lack information or knowledge sufficient to

formulate an opinion as to the truth of the remaining allegations in Paragraph 101 and

on that basis deny them.

      102. Admitted that the GAPMS Determination included an assessment by Dr.

Patrick Lappert. The referenced judicial decision speaks for itself.

      103. Admitted.

      104. Denied that the Proposed Rule “goes beyond” FDOH Guidance, which

does not deal with Medicaid coverage; otherwise admitted that the rule denies Medicaid

coverage for certain treatments for gender dysphoria.

      105. Denied that “thousands” of comments were submitted by individuals,

organizations, and medical professionals in opposition to the rule. Comments were

submitted by a total of approximately 1,300 individuals, organizations and medical

professionals both in support and in opposition to the Proposed Rule.

      106. Admitted.

      107. Admitted that the hearing was set for 3:00 p.m., on Friday, July 8, 2022,

and that it featured a panel of experts; otherwise denied.

      108. Denied.
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       109. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in Paragraph 109 and on that basis deny them.

       110. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in Paragraph 110 and on that basis deny them.

       111. Defendants deny that any participants at the public hearing were “flown

in from out of state” or “bussed” in by AHCA or that AHCA “allowed” stickers to

be passed out. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in Paragraph 111 and on that basis deny them.

       112.     Denied that “thousands” of written comments were submitted in

opposition to the rule. Comments were submitted by a total of approximately 1,300

individuals and organizations both in support and in opposition to the Proposed Rule.

Denied that the nature of the proceedings was biased. Admitted that written comments

were submitted and that individuals testified at the public hearing both in support and

in opposition to the proposed rule; otherwise denied.

       113. Admitted that comments were submitted by a group of professors from

Yale Law School, the Yale School of Medication, University of Texas Southwestern,

and the University of Alabama at Birmingham. Denied that those comments refuted

conclusions behind the GAPMS Determination or that any such conclusions are

unscientific.

       114. The referenced comments speak for themselves. Defendants deny the

conclusions of the comments as summarized in Paragraph 114.
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      115. Admitted that the group of professors submitted a report entitled “A

Critical Review of the June 2022 Florida Medicaid Report on the Medical Treatment of

Gender Dysphoria.” The document speaks for itself, but Defendants deny that the

GAPMS Determination is misleading.

      116. The comments of the American Academy of Pediatrics speak for

themselves. Defendants deny the substance of the comments and any allegation that

the GAPMS Determination was issued for “discriminatory reasons.”

      117. The comments of the Endocrine Society speak for themselves.

Defendants deny the substance of the comments.

      118. Any interviews with researchers speak for themselves. Defendants deny

that Defendants misinterpreted or misrepresented any studies to justify the GAPMS

Determination.

      119. Admitted that the Proposed Rule was filed for final adoption on August

1, 2022. Defendants deny the remaining allegations of this Paragraph.

      120. Admitted.

      121. Admitted.

      122. Denied.

      123. Denied that there is an established scientific and medical consensus that

the four specified services are frequently medically necessary, safe, and effective for

treating gender dysphoria. Defendants deny all other allegations in this Paragraph.

      124. Denied.
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      125. Denied.

      126. Admitted that some of these events occurred although they are

mischaracterized; denied that any were related to the GAPMS Determination.

      127. Denied.

      D.     The Plaintiffs

Plaintiff August Dekker

      128. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      129. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      130. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      131. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      132. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      133. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      134. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.



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      135. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      136. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      137. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      138. Defendants lack information or knowledge sufficient to formulate an

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      139. Defendants lack information or knowledge sufficient to formulate an

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      140. Defendants lack information or knowledge sufficient to formulate an

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      141. Defendants lack information or knowledge sufficient to formulate an

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      142. Defendants lack information or knowledge sufficient to formulate an

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      143. Defendants lack information or knowledge sufficient to formulate an

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      144. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.



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      145. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      146. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      147. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      148. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      149. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      150. Denied.

Plaintiff Brit Rothstein

      151. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      152. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      153. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      154. Defendants lack information or knowledge sufficient to formulate an

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      155. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      156. Defendants lack information or knowledge sufficient to formulate an

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      162. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      163. Defendants lack information or knowledge sufficient to formulate an

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      164. Defendants lack information or knowledge sufficient to formulate an

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      165. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

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      172. Defendants lack information or knowledge sufficient to formulate an

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      173. Defendants lack information or knowledge sufficient to formulate an

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      174. Defendants lack information or knowledge sufficient to formulate an

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      175. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      176. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      177. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

Plaintiff Susan Doe

      178. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      179. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      180. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

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      183. Defendants lack information or knowledge sufficient to formulate an

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      184. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.
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      185. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

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      195. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

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      203. Defendants lack information or knowledge sufficient to formulate an

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      204. Defendants lack information or knowledge sufficient to formulate an

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      205. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      206. Defendants lack information or knowledge sufficient to formulate an

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      213. Defendants lack information or knowledge sufficient to formulate an

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      214. Defendants lack information or knowledge sufficient to formulate an

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      215. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

Plaintiff K.F.

      216. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

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      224. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.
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      225. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      226. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      227. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      228. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      229. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      230. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      231. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      232. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      233. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      234. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.



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      235. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      236. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      237. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      238. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      239. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      240. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      241. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      242. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      243. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      244. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.



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      245. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      246. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      247. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      248. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      249. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

      250. Defendants lack information or knowledge sufficient to formulate an

opinion as to the truth of the allegations in this Paragraph and on that basis deny them.

                              CLAIMS FOR RELIEF

                                  COUNT I
                  Deprivation of Equal Protection in Violation
             of the Fourteenth Amendment of the U.S. Constitution

               (All Plaintiffs Against Defendant Simone Marstiller)

      251. Defendants incorporate by reference their responses to Paragraphs 1-250

of the Complaint.

      252. Admitted.

      253. This Paragraph characterizes Plaintiffs’ claims and therefore requires no

response. However, Defendants deny that Plaintiffs are entitled to any relief sought.
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      254. Denied.

      255. This Paragraph states a legal conclusion and therefore requires no

response. If a response is required, Defendants deny the allegation in this Paragraph.

      256. This paragraph states a legal conclusion and therefore requires no

response. If a response is required, Defendants deny the allegation in this Paragraph.

      257. Denied.

      258. The first sentence of this Paragraph states a legal conclusion and therefore

requires no response. If a response is required, Defendants deny the allegation in this

Paragraph. This paragraph states a legal conclusion and therefore requires no response.

If a response is required, Defendants deny the allegation in this Paragraph. All other

allegations in this Paragraph are denied.

      259. Denied.

      260. Denied.

      261. Denied.

      262. Denied.

      263. Denied.

      264. Denied.

      265. Denied.




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                                  COUNT II
         Discrimination on the Basis of Sex in Violation of Section 1557
      of the Patient Protection and Affordable Care Act, 42 U.S.C. § 18116


                            (All Plaintiffs Against AHCA)

       266. Defendants incorporate by reference their responses to Paragraphs 1-250

of the Complaint.

       267. The referenced statute speaks for itself.

       268. This paragraph states a legal conclusion and therefore requires no

response. If a response is required, Defendants deny the allegations in this Paragraph.

       269. The statutory provisions cited in Paragraph 269 speak for themselves, and

all allegations inconsistent with their terms are denied.

       270. This paragraph states a legal conclusion and therefore requires no

response. If a response is required, Defendants deny the allegations in this Paragraph.

       271. This paragraph states a legal conclusion and therefore requires no

response. If a response is required, Defendants deny the allegations in this Paragraph.

       272. Denied.

       273. Denied.

       274. Denied.




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                                  COUNT III
            Violation of the Medicaid Act’s EPSDT Requirements,
 42 U.S.C. §§ 1396a(a)(10)(A), 1396a(a)(43)(C), 1396d(a)(4)(B), and 1396d(r)(5)

 (Plaintiffs Brit Rothstein, Susan Doe, and K.F. Against Defendant Marstiller)

      275. Defendants incorporate by reference their responses to Paragraphs 1-250

of the Complaint.

      276. The referenced statutory provisions speak for themselves.

      277. Denied.


                                  COUNT IV
         Violation of the Medicaid Act’s Comparability Requirements,
                           42 U.S.C. § 1396a(a)(10)(i)

                    (All Plaintiffs Against Defendant Marstiller)

      278. Defendants incorporate by reference their responses to Paragraphs 1-250

of the Complaint.

      279. The referenced statutory provision speaks for itself.

      280. Denied.

                              PRAYER FOR RELIEF

      Defendants deny that Plaintiffs are entitled to any of the requested relief.

                                 Respectfully submitted by:

                                 /s/ Mohammad O. Jazil
                                 Mohammad O. Jazil (FBN: 72556)
                                 Gary V. Perko (FBN: 855898)
                                 Michael Beato (FBN: 1017715)
                                 HOLTZMAN VOGEL BARAN

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Dated: October 26, 2022          Counsel for Defendants Secretary Marstiller and Florida
                                 Agency for Healthcare Administration


                          CERTIFICATE OF SERVICE

      I hereby certify that on October 26, 2022, I electronically filed the foregoing

with the Clerk of Court by using CM/ECF, which automatically serves all counsel of

record for the parties who have appeared.

                                 /s/ Mohammad O. Jazil
                                 Mohammad O. Jazil




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